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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                 *****
 9   UNITED STATES OF AMERICA,                        )
                                                      ) 2:01-cr-00332-LRH-PAL
10                                                    )
                                    Plaintiff,        ) ORDER
11                                                    )
     vs.                                              )
12                                                    )
     DEXTER TYRONE DUKES,                             )
13                                                    )
                                    Defendant.        )
14                                                    )
15            Presently before the court is the matter of United States of America v. Dexter Tyrone
16   Dukes (“Dukes”), 2:09-cr-00332-LRH-PAL.
17            On June 21, 2010, this court held a hearing for revocation of supervised release as to
18   defendant Dukes. The U.S. probation department requested that supervision conditions be
19   modified to include halfway house placement.
20            Accordingly,
21            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that defendant Dukes reside
22   in a residential re-entry center for a period of 6 months.
23            It is FURTHER ORDERED that all previous conditions and terms of release will stay in
24   place.
25            DATED this 16th day of July, 2010.
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28                                                          LARRY R. HICKS
                                                            UNITED STATES DISTRICT JUDGE
